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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


DEVIN G. NUNES,

               Plaintiff,

       v.                                              Civil Action No. 1:21-cv-00506 (CJN)

WP COMPANY LLC, et al.,

               Defendants.


                                              ORDER

        This matter is before the Court on two motions to compel discovery—one filed by

Defendants, ECF No. 56, the other filed by Plaintiff, ECF No. 58. Having considered both motions

and the parties’ arguments, it is hereby

        ORDERED that Plaintiff’s Motion to Compel Discovery from Defendants is DENIED;

and it is

        FURTHER ORDERED that Defendants’ Motion to Compel Discovery from Plaintiff is

GRANTED IN PART and DENIED IN PART; and it is

        FURTHER ORDERED that, within 14 days of the entry of this Order, Plaintiff shall,

consistent with the Federal Rules of Civil Procedure:

        1. Identify all individuals who possess relevant knowledge or information in response to

             Defendants’ Interrogatories 2, 3, and 15, which includes, but is not limited to, (A) the

             unidentified staffer(s) who Plaintiff asserted traveled with him “in a cab” before he

             visited White House grounds on March 21, 2017; (B) the unidentified Congressional

             Office or Intelligence Committee staffer(s) who worked (in any manner) on Plaintiff’s

             March 2017 statements regarding surveillance of the Trump Campaign; and (C) the

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      unidentified staffer(s) who worked (in any manner) on Plaintiff’s campaign website

      post about “lawsuits against The Washington Post”;

2.    For each individual with relevant knowledge or information on Plaintiff’s staff or

      otherwise within his control—including (A) Plaintiff, (B) Jack Langer, (C) Plaintiff’s

      former scheduler (Jennifer Morrow), (D) Plaintiff’s chiefs of staff (Jillian Plank and

      Anthony Ratekin) and Intelligence Committee assistants (Scott Glabe, George Pappas,

      and the late Damon Nelson), (E) the staffer(s) who traveled with Plaintiff “in a cab”

      before he visited White House grounds on March 21, 2017, and (F) Plaintiff’s

      Campaign manager (Jake Mizner) and Campaign staffer(s) who worked on his

      campaign website post about Plaintiff’s “lawsuits against The Washington Post”—

      identify in response to Defendants’ Interrogatory 16 every repository ever used by that

      custodian to send, receive, or store relevant communications or documents; the subject

      matter of the documents in that repository; the date range of documents retained in that

      repository; and whether Plaintiff collected documents from the repository;

3. For each individual listed in paragraph (2) above, supplement Plaintiff’s responses to

      Defendants’ first and second sets of requests for production of documents (including

      Requests for Production of Documents 1–41) to include all responsive, non-privileged

      documents and any original metadata resulting from a reasonably diligent search of

      those custodians’ files;

4. Supplement Plaintiff’s responses to Defendants’ Interrogatories 1 and 17 by consulting

      with Plaintiff’s former scheduler (Jennifer Morrow) or other relevant staffers

      concerning (A) Plaintiff’s complete itinerary on March 21, 2017 and (B) how Plaintiff’s

      March 21, 2017 and March 22, 2017 visits to the White House were arranged; and



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       5. If not already provided, supplement Plaintiff’s initial disclosures to include “a

           computation of each category of damages claimed by” Plaintiff, as required by Federal

           Rule of Civil Procedure 26(a)(1)(A)(iii).

       Notwithstanding the above paragraphs of this Order, Plaintiff need not supplement his

responses to Requests for Production of Documents 27 and 29 and Interrogatory 13 at this time,

but Defendants may renew these requests if the desired information becomes relevant to Plaintiff’s

proposed computation of damages.



DATE: October 25, 2022
                                                            CARL J. NICHOLS
                                                            United States District Judge




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